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                    IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS,
                                EASTERN DIVISION

IN RE:                                       )
                                             )       CASE NO. 18 B 04322
         Michael Novak,                      )       HON. Jacqueline P. Cox
                                             )       CHAPTER 7
         DEBTOR.                             )



         RESPONSE TO UNITED STATES TRUSTEE’S MOTION TO EXAMINE
                        FEES OF DEBTOR’S COUNSEL


       NOW COMES, The Semrad Law Firm, L.L.C. (“Semrad”), for their Response to the
United States Trustee’s Motion to Examine Fees of Debtor’s Counsel, and states as follows:


                                     I.     Statement of Facts

         Michael Novak (“Debtor”) came in for a consultation to the Semrad Law Firm, LLC

(“Semrad”) on February 10, 2018 for a free consultation. Debtor advised Semrad he was being

threatened with garnishment from a vehicle deficiency and desired bankruptcy protection. After

meeting with an attorney, Debtor decided to move forward with a Chapter 7 filingAt the

consultation, Debtor was advised not only about the entire bankruptcy process, but also about how

Semrad would agree to represent Debtor for no money down for all the pre-petition work by

signing the Contract for Legal Services (“Pre-Petition Contract”), and then voluntarily enter into

a second retainer agreement (“Post-Petition Agreement”) for all post-petition work. At the time of

the consultation, Debtor only had $180.00 in his bank account, so Semrad agreed to represent

Debtor for no money down.




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       Debtor subsequently returned to Semrad’s office on February 17, 2018 and met with an

attorney to have his case prepared. Debtor subsequently reviewed with Semrad and signed the

Pre-Petition Contract which in bold and conspicuously stated in the first provision:

               Having been advised that I am not obligated to sign this
               agreement for legal services and that I may consult with another
               attorney as to whether I should do so; and having been advised
               that any previous agreement to pay the Semrad Law Firm, LLC
               any additional money is now unenforceable pursuant to my
               filing bankruptcy; and having been further advised that I can
               choose to retain another attorney apart from the Semrad Law
               Firm, LLC I agree to the following:…

       The Pre-Petition contract also spelled out specifically all pre-petition services covered such

as preparing and filing the petition. The Pre-Petition contract also explained that Semrad would

not be charging Debtor for any pre-petition services, nor charging Debtor for any expenses such

as credit reports and tax transcripts. After reviewing the Pre-Petition contract, the Debtor signed

it and subsequently filed a petition for relief under Chapter 7 of the United States Bankruptcy

Code. The voluntary petition, including Schedules A-J, the Statement of Financial Affairs and

Statement of Currently Income, and the Disclosure of Compensation for Attorney for the Debtor

(“2016(b)”) was filed at 12:11:20 p.m. followed by the Certificate of Credit Counseling at 12:12:53

p.m. and the Statement of Current Monthly Income at 12:13:19 p.m.

       The 2016(b) filed along with the attached pre-petition contract, disclosed the agreed upon

fee for services of $1,765.00 as well as the services that would be performed with Pre-Petition

Contract prior to filing his case. The Debtor reviewed along with Semrad the Pre-Petition Contract

and discussed any conflicts and gave consent to file his case.




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           After the case was filed, the Debtor and Semrad reviewed and discussed the Zero Down

Post-Petition Contract for Chapter 7 Legal Services (“Post-Petition Contract”).1 The Post-Petition

Contract straightforwardly and explicitly states the services to be provided by Semrad to represent

him in the bankruptcy:

                  the scope of the services will include continued preparation and
                  amendment, if necessary, of schedules; preparation and attendance
                  of the Section 341 Meeting of Creditors; review and attendance, if
                  necessary, to motions for stay relief, review of any redemption
                  agreements; review of any reaffirmation agreements; case
                  administration and monitoring, motions to reopen, if necessary, as
                  well as a post discharge review of my credit report to ensure accurate
                  reporting.” , not merely the limited remaining services the UST
                  states in its pleadings. The Post-Petition Contract states explicitly
                  the services to be provided by retaining Semrad’s to represent him
                  in the bankruptcy.

           The Post-Petition contract also gives the Debtor a 10-day cooling off period to sign the

contract. After reviewing the Post-Petition Contract, the Debtor voluntarily signed it at 12:30 p.m.,

nineteen minutes after the case was filed. Subsequently, Semrad filed the amended 2016(b),

attaching the Post-Petition Contract.


     II.      The Post-Petition Fees Meet the Value of Post-Petition Services


           Semrad did not charge a disproportionate amount of fees for post-petition

services. Section 329 of the United States Bankruptcy Code allows the court to examine fees paid

to an attorney and if such fees exceed the reasonable value of these services, to cancel such

agreement. In examining reasonableness of fees “courts are guided by section 330”. In re Jackson,




1
 Despite U.S. Trustee’s assertion that the Post-Petition Contract was agreed to pre-petition, the Post-Petition
contract is an actual post-petition contract. It contains an offer, acceptance and consideration, the consideration
being the services to be rendered post-petition. See In re Griffin, 313 B.R. 757, 769-770 (Bankr. ND. Ill. 2004)

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401 B.R. 333, 341 (Bankr. N.D. Ill 2009). Section 330 states that “reasonable compensation

depends on “the nature, the extent, and the value” of the services. Id.

        Whether fees are reasonable should be determined on a case by case basis. The United

States Trustee (“U.S. Trustee”) is under the belief that because a “case does not appear to present

any complex issues”, that no other work was or will be done on this case.2 There is no denying

that some cases are far simpler than others, however, despite a case appearing simple on its face

does not mean it is simple in practice

        For the U.S. Trustee to assume that the only work to be done on the case is attending the

meeting of creditors, filing a debtor education certificate, and perhaps signing two reaffirmation

agreements is presumptuous. See U.S. Trustee’s Motion, Page 7, paragraph 19. Under that blanket

assumption, every case they believe to be simple deserves a minimal set flat fee. The U.S. Trustee

fails to recognize the other services that are provided to Debtors. Generally, the other services to

be provided include but are not limited to: 1) sending the notice of filing to creditors; 2)

correspondence with creditors including but not limited to stopping payroll garnishments,

unfreezing bank accounts from lawsuit judgments, and getting back funds accidentally taken by

creditors post-petition; 3) Debtor phone calls; 4) sending pay advices and tax returns, and any other

requested documents to the Chapter 7 Trustee; 5) filing any necessary amendments; 6) attending

the 341 meeting of creditors; 7) rescheduling and attending a second 341 meeting if necessary3; 7)

reviewing and negotiating reaffirmation agreements; 8) correspondence and negotiations with

Chapter 7 Trustee if necessary; 9) completing U.S. Trustee audits when applicable; 10) filing

motions to redeem; 11) filing motion to avoid liens; 12) defending potential motions to dismiss or



2
 See U.S. Trustee’s Motion to Exam Fees, FN3.
3
 Semrad does not charge an additional fee for attending a second 341 if the Debtor misses the first 341 meeting
unlike other firms that do charge for this.

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briefing any other potential legal issues; 13) prosecuting automatic stay violations under Section

362 and discharge violations under Section 524(a)(2); 14) filing the debtor education certificate;

and 15) post-discharge services such as routine questions, duplicate copies of discharge order, and

sending In re Mendiola letters.4 Additionally, the last day to object to the discharge in this case is

not scheduled until May 21, 2018, leaving at least several more weeks for any services that may

need to be performed. Should the Debtor later decide to rescind a reaffirmation agreement, which

may later turn out to be in his best interest, Semrad will do that work too.

         In this instant case, Semrad has already done far more than what the U.S. Trustee assumes

(See Exhibit A, Itemization of Fees)5. Not only has Semrad attended the meeting of creditors and

made sure the debtor education certificate was timely filed, Semrad has also counseled the Debtor

on post-filing matters, reviewing reaffirmation, surrender, or redemption options regarding his

vehicle, creditor emails, responded to Debtor’s phone calls and emails, etc. Further, Semrad did

not just “perhaps obtain the Debtor’s signature on two reaffirmation agreements…”. See U.S.

Trustee’s Motion, pg. 7. In fact, Semrad does far more than obtain signatures for the reaffirmation

agreements. Semrad reviews them to ensure they comply with §524(c) and (d), reviews the terms




4
  Semrad encourages all of its clients to obtain a free credit report post-discharge from them at no additional charge
to ensure correct reporting because a fresh start and rebuilding credit are among the primary goals of many debtors
filing bankruptcy.
5
  Rule 1.5 of Illinois Rules of Professional Responsibility states several factors in determining when a attorney’s
fees would be reasonable. Factors relevant to the case at bar includes: 1) the time and labor required, the novelty
and difficulty of the questions involved, and the skill requisite to perform the legal service properly. In the case at
bar, Semrad has attached a time sheet exhibit showing that it has earned it’s post-petition fees; 3) the fee customarily
charged in the locality for similar legal services; In the case at bar, Semrad’s post-petition fees of $1,765 is in line
with other law firms in this district’s fee, and in many cases are lower for similar type of Chapter 7 fees. See Exhibit
B; 4) the amount involved and the results obtained. In the case at bar, the Debtor has already attended the 341
meeting, and had his Personal Financial Management Course completed. This case like the vast majority of
Semrad’s Chapter 7 cases end up receiving a successful discharge.; 5) the time limitations imposed by the client or
circumstances. In the case at bar, Debtor was under pressure to file for bankruptcy relief to stop creditor harassment
and the threat of garnishment which filing did stop.; and 7) the experience, reputation, and ability of the lawyer or
lawyers performing the services; Semrad has been representing debtors in Chapter 7 and Chapter 13 bankruptcies
for over 14 years. In that time, Semrad has filed and obtained thousands of successful discharges for debtors in
Chapter 7s and Chapter 13s.

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with the debtor, and after they are reviewed and signed, mails the reaffirmation to the creditor and

monitors to make sure they are timely filed.      Additionally, the last day to object to the discharge

in this case is not scheduled until May 21, 2018, leaving at least several more weeks for any

services that may need to be performed. Accordingly, the U.S. Trustee’s statements are not only

misguided but speculative and premature. It is also a distinct possibility that Semrad’s attorney

fees for post-petition services may exceed the amount the Debtor paid, however since Semrad is

operating on a flat fee agreement, the Debtor would not be charged any more than the agreed upon

$1,765.00.

          Reasonable value of post-petition services is a question of fact, and not a matter of

law. It is Semrad’s position that in order to examine reasonableness of fees either an evidentiary

hearing is necessary or a prove-up of counsel’s time. In the instant case, Semrad is able show

through their timesheet that the services performed both pre-petition and post-petition were

performed in accordance with the respective agreements. See Exhibit A. Furthermore, the fees

charged for the services were charged in accordance with the Pre-Petition Contract and Post-

Petition Contract. Aside from the U.S. Trustee’s belief that this is a straightforward case based on

the filed schedules, they fail to have any knowledge of what was done on or for the Debtor’s behalf

after the case was filed. This Court should deny the United States Trustee’s Motion to Examine

Fees based on the foregoing.



   III.      The Semrad Law Firm, LLC’s $1,765 Post-Petition Fees is in Line with Market
             Rates

   In addition to the specific facts of this case demonstrating that $1,765 is a reasonable flat fee

for post-petition services, a survey of fees from other consumer bankruptcy firms practicing in the

Northern District of Illinois shows that $1,765 is in line with other firms’ fees (See attached Exhibit


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B). The attached exhibit illustrates that many other firms in this jurisdiction file cases using pre-

petition and post-petition contracts, and the post-petition fees often go far above the $1,765.00

with some approaching $3,000.00. Semrad is not suggesting these firms are overcharging, merely

that Semrad’s fees are not only justifiable from an itemized standpoint, but from a market

standpoint as well.



   IV.      Semrad’s Post-Petition Fee Structure Does Not Circumvent The Limitation Set
            Forth In Bethea


   The U.S. Trustee argues that Semrad’s post-petition fee structure is an attempt to convert a

pre-petition obligation into a post-petition obligation in contravention of Bethea. Bethea v. Robert

J. Adams & Assoc., 352 F.3d 1125 (7th Cir. 2003). In re Bethea is distinguishable from the case at

hand. In Bethea, the Court dealt with whether a pre-petition contract for post-petition services

was dischargeable under §523(a). In Bethea, the Debtors signed one contract, prior to filing, that

allowed for attorney fees to be paid in installments after filing. Debtor’s counsel continued to

collect fees post-petition but did not have the Debtor’s sign a second retainer agreement. The

Court held that post-petition fees were dischargeable under §523.

         Bethea is distinguishable from the current case because the Debtor signed a second retainer

agreement post-petition and therefore created a non-dischargeable debt. Bethea did not rule on the

enforceability of an obligation to pay attorney fees under an agreement made after a bankruptcy is

filed. In fact, Bethea distinguished a pre-petition agreement from a post-petition agreement and

noted that a post-petition agreement to pay attorney fees is not dischargeable (See In re Slabbinck,

482 B.R. 576, 581 (Bankr. E.D Mich. 2012)).




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         The 7th Circuit Court in Bethea further offered suggestions on how to resolve the issue of

payment of post-petition attorney fees without making the client pay everything up front stating:

                  For what it may be worth, however, we do not share the view that
                  taking § 727(b) at face value necessarily injures deserving debtors.
                  Those who cannot prepay in full can tender a smaller retainer for
                  prepetition work and later hire and pay counsel once the proceeding
                  begins-for a lawyer's aid is helpful in prosecuting the case as well as
                  in filing it.

Bethea, 352 F.3d 1125 at 1128.             That sentiment is further echoed in Griffin, where the Court

mentions as a possibility of the debtor and counsel entering in to a pre-petition and post-petition

contract. In re Griffin, 313 B.R. 757 (N.D. Ill. 2004).


                  A second potential solution to the problem posed by Bethea would
                  be for the debtor and the bankruptcy attorney to enter into a pre-
                  petition retention contract requiring the attorney to perform either
                  no post-petition services or very limited ones not including
                  redemption work; then these parties could potentially enter into a
                  post-petition contract for post-petition services the attorney has not
                  already agreed to perform, creating a new post-petition claim.

Id. at 769.6

         The fee structure in these types of cases serves as a benefit to the many debtors who cannot

afford to pay attorney fees up front. By allowing debtors to file bankruptcy without having to pay


6
  Other courts in dicta have also discussed how post-petition contracts could be allowable. See In re Mansfield, 394
B.R. 783 at 792-793 (Bankr. E.D. Penn. 2008) (“It follows that an attorney’s right to payment for legal services
performed post-petition pursuant to a fee agreement which, in some manner, segregates pre-petition fees from post-
petition fees (as opposed to a flat fee agreement pursuant to which an attorney agrees to perform both pre-petition
and post-petition services for a lump or fixed sum) arises when the post-petition services are performed…[t]he key
to recovery for post-petition services, therefore, lies in the terms of the attorney’s fee agreement. The fee agreement
must segregate the fees for pre-petition work from the fee(s) for post-petition work.”); In re Waldo, 417 B.R. 854
(Bankr. E.D. Tenn. 2009) See also In re Lawson, 437 B.R. 609 at 664 (Bankr. E.D. 2010) (“The following options,
however, which have been employed by other courts, appear to fall within the scope of potential and allowable
solutions:…(2) revising retainer agreements and expressly designating pre-petition services, which are paid pre-
petition, and post-petition services, which shall be paid post petition…”; In re Hines, 147 F.3d 1185 at 1190 (9th Cir.
1998); See also In re Chandlier, 292 B.R. 583 at 588 (Bankr. W.D.Mich. 2003) (“…[A] chapter 7 debtor’s attorney
might avoid the compensation quandary by initially contracting only to provide pre-bankruptcy services and by
initially accepting payment only for those pre-petition services. Then the attorney could later enter into a separate
postpetition agreement to provide any necessary postpetition services.”); and Rittenhouse v. Eisen, 404 F.3d 395 at
397 (6th Cir. 2005) (“§ 329 covers also post-petition attorneys fees, which are not dischargeable.”)

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attorney fees up front, it allows access to the bankruptcy courts to those who need it the most.

Bethea at 1127-28.

               A. In Re Slabbinck

       The U.S. Trustee asserts that Semrad has violated Local Rule 2090-5(B) and that it’s post-

petition contract constitutes impermissible unbundling. However, the U.S. Trustee cites no case

law which is on point with the current fact pattern. The holdings for Bethea and Griffin relate to

pre-petition contracts, Slabbinck and Walton, on the other hand, deal with post-petition contracts,

and support Semrad’s position both that post-petition contracts are allowable, and that $1,765 is a

reasonable post-filing fee. In re Slabbinck, 482 B.R. 576 at 583, 596; see also In re Walton, 469

B.R. 383 at 387 (M.D. Fla. 2012) (“…there is no prohibition against a debtor making postpetition

installment payments for postpetition services…the court must uphold the validity of the modified

two-contract procedure absent some compelling reason not to do so.”)

        Slabbinck dealt with a consumer Chapter 7 with a pre-petition contract for $1,000.00 and

a post-petition contract for $2,000. With slightly different wording, but a substantially similar

argument, the U.S. Trustee in Slabbinck avers that the post-petition contract is a pre-petition

contract. This argument is quickly dealt with by the Court finding they are “two separate

agreements” and the allegation that they are one is “not borne out by the facts.” Id. at 583. The

matter of impermissible unbundling provides a more complex question. After a lengthy discussion

of relevant bankruptcy law and ethics rules of the state of Michigan (MRPC), the court holds that

“an agreement to limit an attorney’s legal services in connection with an individual Chapter 7

bankruptcy case by unbundling the pre-petition service from the post-petition services, is not per

se prohibited by the MRPC and does not necessarily warrant any relief under 329 of the

Bankruptcy Code.” Id. at 589. This language of course leaves the door open for improper



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contracts, but the contracts at issue in Slabbinck, as the contracts at issue in the instant case, do not

constitute impermissible unbundling.


        V. Allowing Post-Petition Contracts is a Sound Policy

        Although not provable with legal research or logical reasoning, working in consumer

bankruptcy with individuals who live in the margins of society provides a certain

education. People who do not have the same upfront, day in day out experiences cannot grasp the

realities many individuals seeking debt relief face. For those of us fortunate enough to work in

Bankruptcy Court, on any side of the proceedings, we meet these individuals face to face and sift

through their finances. With enough experience it becomes apparent that for many individuals

accumulating $1,000.00 is a herculean feat. Prominent bankruptcy publications have compared

the access no-money down Chapter 13s provide to the public and lament that similar options are

not available to worthy Chapter 7 debtors.7 It is believed that certain individuals end up filing

Chapter 13s solely because a no money down option is made available, even though Chapter 7

may be the better option. Also, demanding large fees upfront would likely lead to an uptick in pro

se filings, which also put a strain on the resources of the Court. In fact, this Honorable Court

discourages pro se filings on its very own website.8 Through its motion to examine fees, the U.S.

Trustee is seeking to invalidate the method employed by Semrad which takes care to comport with

the rules of the Court while at the same time opening up legal services to individuals who would



7
  Foohey, P., Lawless, R., Porter, K., Thorne, D., “Attorneys’ Fees and Chapter Choice: Exploring ‘No Money
Down’ Chapter 13 Bankruptcy, American Bankruptcy Institute Journal, 2017, Vol. XXXVI, No. 6, pgs. 20, 62-63.
“The ultimate goal of these suggestions is not to abolish ‘no money down’ chapter 13s, but to allow all debtors to
weigh the benefits and costs of filing chapter 7 or 13 without having to consider how they will pay the attorney’s
fees.”
8
  Northern District of Illinois, https://www.ilnb.uscourts.gov/filing-without-attorney, Filing Without an Attorney
“While individuals can file a bankruptcy case without an attorney or ‘pro se,’ it is extremely difficult to do it
successfully… hiring a competent attorney is strongly recommended.” (emphasis in original)


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otherwise be left to fend for themselves. As has been noted in other courts, for a Court to disallow

the practice of post-petition contracts will have the “effect of depriving needy individual debtors

who cannot afford to pay in advance.” In re Slabbinck 482 B.R. 576 at 597.


               VI.      The Zero Down Fee Structure Does Not Impermissibly Unbundle Legal
                        Services


           The United States Trustee argues that agreeing to only receive compensation for post-

petition work exceed the bounds of permissible unbundling. For the following reasons, this

argument is without merit:


               A. The Zero Down Fee Structure Does Not Violate Local Bankruptcy Rule 2090-
                  5(B)


           The first paragraph of The Semrad Law Firm’s Pre-Petition contract reads

                     I do hereby retain the law firm of The Semrad Law Firm, LLC to
                     represent my legal interests solely in a Bankruptcy case filed under
                     Chapter 7 of the United States Bankruptcy Code. I further
                     understand that this representation DOES NOT INCLUDE
                     defending my interest in any adversary proceeding filed against me
                     nor does this representation cover state court proceedings or
                     criminal litigation.9

           This language fully comports with the mandate of 2090-5(B). Semrad is not failing to

perform, or contract away, a single fundamental or core obligation. The only services carved out

in the contract are adversary proceeding representation and representation in matters related to

reopening the case.




9
    See U.S. Trustee’s Motion, Ex. A – pg.55

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             B. Rule 2091-1(B) Permits Post-Petition Contracts

         As stated previously, in December 2002, the Seventh Circuit held in Bethea that pre-

petition contracts for post-petition services were dischargeable debts. Two months to the day after

the Bethea opinion, this Court enacted a standing order which was later adopted as Local Rule

2091-1(B). This order reads,

                 In a case under Chapter 7 of the Bankruptcy Code where (1) the
                 debtor’s attorney has agreed to represent the debtor conditioned on
                 the debtor entering into an agreement after the filing of the case to
                 pay the attorney for services rendered after the filing of the case, and
                 (2) the debtor refuses to enter into such an agreement, the court may
                 allow the attorney to withdraw from representation of the debtor, on
                 the motion of the attorney with notice to the debtor, the trustee, and
                 the U.S. Trustee. - Bankr. N.D. Ill. R. 2091-1(B)

         An unambiguous takeaway of this rule is that the Bench allows attorneys to enter into post-

petition contracts for post-petition services, and that withdrawal is explicitly permitted if the

debtors decline to enter into a post-petition agreement. It is apparent from the timing of the entry

of the standing order that the Court wanted to give attorneys a way to use post-petition contracts

in light of the Seventh Circuit’s dicta in Bethea. Local Rule 2091-1(B) creates an exception to

Local Rule 2090-5(B) and allows attorneys to limit representation in the event of a debtor declining

to enter into a post-petition contract.10

         In its motion the U.S. Trustee states we “erroneously invoke Local Rule 2091-1(B) to hold

the threat of withdrawal over the Debtor.”11 Apparently, the Firm is erroneously invoking this rule

due to the phrase, “I understand I will be under no obligation.” This clause is not a waiver of

Semrad’s rights under Local Rule 2091-1(B), it is an acknowledgment of the Debtor’s volition. A

debtor has the right to not sign a post-petition contract, but Semrad retains its right to withdraw


10
   The U.S. Trustee admits that Rule 2091-1(B) is an allowable exception to Rule 2090-5(B). See U.S. Trustee’s
Motion, page 9, paragraph 24
11
   See U.S. Trustee’s Motion, page 9, paragraph 24.

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upon the decision of the client to not enter into a post-petition agreement. To interpret this clause

in the manner the U.S. Trustee has is to warp Semrad’s intentions. A juxtaposition of Semrad’s

contract with the post-petition contract of Geraci Law reveals the difference. In its post-petition

contract, Geraci Law states “We will not withdraw for non-payment if you decide not to sign a

post-filing agreement...”.12 This clause could accurately be read as a plain waiver of The Geraci

Law Firm’s rights under Local Rule 2091-1(B). In diametric opposition, Semrad’s contract states

we “reserve the right to withdraw from… representation in the event” a second retainer is not

signed.13

           The mention of withdrawal is perceived by the U.S. Trustee as threatening, but this

language is a representation of the bare facts of Local Rule 2091-1(B). Withdrawal is expressly

permissible, and debtors need to be made aware of this important fact. Excluding this fact in the

contract would be perhaps less threatening but certainly more deceptive. Clients deserve to know

this relevant information.

               C. Local Rule 2091-1(B) Creates An Exception to Local Rule 2090-5(B)

           The U.S. Trustee’s assertion that Local Rule 2090-5(B) is not altered by Local Rule 2091-

1(B) does not pass muster. Semrad’s Pre-Petition Contract goes to great lengths to condition post-

petition services on entering into a post-petition contract. If dedicating more than half of a pre-

petition contract to an explanation of what the post-petition contract is, and explicitly reserving

the right to withdraw in the event it is not signed is not enough to meet a standard of conditioning

post-petition services on a post-petition contract, in what circumstance can an attorney’s conduct

can be squared with Local Rule 2091-1(B)? Even in a circumstance where an attorney is charging

a nominal post-filing fee, under the U.S. Trustee’s interpretation it would be an impermissible


12
     For example, see 18-04386, In Re Gaither, Dockett. No. 1, pg. 44
13
     See U.S. Trustee’s motion, Ex B., p. 1

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unbundling and the nominal fee would be subject to disgorgement. A more appropriate reading

of the local rules is that 2091-1(B) creates more than a limited exception to 2090-5(B).

               D. The Post-Petition Contract is not a Pre-Petition Contract

           The assertion in the second footnote of the motion to examine fees, that Semrad’s post-

petition contract is in fact a pre-petition contract,14 also does not withstand scrutiny. In order for

a post- petition contract to meet the description of Local Rule 2091-1(B), the attorney’s

representation must be conditioned on a post-petition contract. If the representation is conditioned

on a post-petition contract by its very nature it must be contemplated pre-petition. The debtor’s

attorney knows post-petition events will occur. All bankruptcies have not just fundamental and

core duties to carry out, but mandatory and compulsory events which need to occur post-petition.

(see for example 11 U.S.C. §341, 11 U.S.C. §727(a)(11), et al)

           To suggest a post-petition contract can be entered into within ten days of a bankruptcy

filing without pre-petition negotiation and agreement is to paint a picture of a hapless attorney who

discovers several days after filing that the work is not done and now must start the process of

negotiation and agreement. By this line of reasoning, the preferred method of contract formation

would be to file the bankruptcy, and then discuss fees. Suppose the debtor and the attorney cannot

make an agreement. Since Local Rule 2091-1(B) allows withdrawal for failure to enter into a post-

petition contract, this timing would seemingly lead to an increase in debtors left without their

proverbial swim coach. On the other hand, if the attorney and the debtor know what the post-

petition fee will be pre-petition, there is an elimination of any element of surprise. The proper

concern is one of adequate knowledge. Debtors without adequate knowledge are at a material




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     See U.S. Trustee’s Motion to Exam Fees, FN2.

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disadvantage, and susceptible to being overcharged by counsel. To withhold fee negotiations until

the debtor already has a case number and a meeting date only exacerbates this disadvantage.



           VII.    The Semrad Law Firm, LLC’s Contracts do not Violate Illinois Rules of
                   Professional Responsibility

       Rule 1.2 of the Illinois Rules of Professional Conduct (“RPC”) is also not abridged by the

pre-petition and post-petition contract. As previously stated, both contracts states that Semrad

represents Debtors “legal interests solely in a Bankruptcy case filed under Chapter 7 of the United

States Bankruptcy Code.” Also, both contracts only carve out adversary proceedings and fees

earned after case closing. Certainly, none of these restrictions would constitute a contracting away

of fundamental and core obligations. Conditioning post-petition services on a post-petition

contract is done under the Local Rules of this Court, and a §329 motion brought under the

bankruptcy code in a bankruptcy court should acknowledge that adherence to local rules on post-

filing contracts should not constitute a breach of the State’s rules of professional conduct for an

improper limiting of the scope of representation. “Ethical rules involving attorneys practicing in

the federal courts are ultimately questions of federal law.” See Slabbinck 482 B.R. 576 at 587,

citing In re Snyder, 472 U.S. 634, 645 (1985) and Nat’l Union Fire Ins. Co. of Pittsburgh, Pa. v.

Alticor, Inc., 466 F.3d 456, 457-58 (6th Cir. 2006). State law, on the other hand, is used “for

guidance.” Id. Additionally, the Debtor was given informed consent before entering into both

contracts. The first contract heavily references the fact that a second contract shall be forthcoming,

and the second contact opens with a disclaimer in bold that no obligation exists to enter into the

second contract.




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           VIII.    The Zero Down Fee Structure Does Not Violate §528(a)(1)(A)


       Both the pre-petition and post-petition contracts satisfy the mandate of 11 U.S.C.

§528(a)(1). Section 528(a)(1) requires debt relief agencies to “execute a written contract,”

explaining the legal services which will be provided, the applicable fee, and the terms of

payment.” In both the pre-petition and post-petition contract, The Semrad Law Firm covenants

with the client to represent “legal interests solely in a Bankruptcy case filed under Chapter 7 of the

United States Bankruptcy Code.” Although concise, this one sentence encompasses the entirety

of the legal service, and in line with Local Rule 2090-5(B) establishes that Semrad will be the

“attorney of record on behalf of the debtor for all purposes in the bankruptcy case.” The attorney

fee of $1,765.00 and the reimbursable court filing fee of $335.00 are put in bold, heightening their

conspicuity. Four items are singled out which are not included in these fees: the hourly rate for

adversary proceeding representation, the court fee to amend schedules D, E, or F, a $1,000.00 flat

fee for a motion to reopen a case to avoid a lien, and a $350.00 attorney fee for a motion to reopen.

There is a clause stating the funds paid are non-refundable, and a general recitation of client

responsibilities akin to the court approved retention agreement. The contract meets the

requirements of Section 528(a)(1).




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           IX.      Conclusion

        Post-Petition contracts are permitted by the Local Rules of this Court and address an

ongoing concern of allowing access to counsel for indigent clients. Additionally, the $1,765 post-

filing attorney fee charged by The Semrad Law Firm, LLC is not only justifiable do to the amount

of work contemplated but is also in line with what other firms in the Northern District of Illinois

charge. The contracts also comply with the Illinois Rules of Professional Conduct and 11 U.S.C

§528.



        WHEREFORE, The Semrad Law Firm respectfully requests this Honorable Court to enter

an Order dismissing this Motion to Examine Fees of Debtor’s Counsel and for such other and

further relief as this Court deems fair and just.



                                                            Respectfully Submitted,



                                                            __/s/ Michael Miller
                                                            Attorney for Debtor


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